Action in two counts to quiet title and partition 185 acres of land in Carroll County. The court found the allegations of the petition to be true, judgment was entered accordingly and defendants Camilla Lauffer, Mary Lauffer and Hilda Pabel appealed. Pending appeal, Camilla Lauffer died, leaving the other appealing defendants as her only heirs at law. By agreement, the cause was here revived as to Camilla Lauffer in the names of Mary Lauffer and Hilda Pabel.
An examination of the motion for a new trial discloses no assignment of error. A copy of the motion follows:
"Come now the defendants Camilla Lauffer, Mary Lauffer, and Hilda Pabel, by their attorneys John T. Morris, Paul H. Ditzen and Justus N. Baird and move the court for an order setting aside the judgment rendered in this cause and granting these defendants a new trial for the reason that the court erred in rendering judgment against these defendants."
The motion, is only a claim that judgment should have been for defendants. It directs attention to no claim of error. An assignment in such general terms presents no question for review. [Rhorer v. Brockhage, 15 Mo. App. 16, 25; Wampler v. Ry. Co., 190 S.W. 908, l.c. 911, 912; Mun. Securities Corp. v. Kansas City,265 Mo. 252, 265, 177 S.W. 856.]
It follows the judgment should be affirmed. It is so ordered. All concur. *Page 723 